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UNITED STATES DISTRICT COURT                                                       . ', (

SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
DONNA WOOD, et al., individually and on
behalf of all others similarly situated,

                                   Plaintiffs,                          20 CIVIL 2489 (L TS)(GWG)

                 -against-                                              RULE 54(b) JUDGMENT
MIKE BLOOMBERG 2020, INC.,

                                   Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the

Court's Order dated April 28, 2022, the Court has received and reviewed the motion filed by Plaintiffs (docket

entry no. 270) requesting that the Court enter final judgment pursuant to Federal Rule of Civil Procedure 54(6)

in favor of Defendant on Counts 16 and 17 of the Second Amended Complaint, which were dismissed with

prejudice in the Court's March 25, 2022, Memorandum Opinion and Order. (Docket entry no. 258.) Defendant

does not oppose the requested relief. The Court finds, for the reasons proffered by Plaintiffs (see docket entry

no. 271 ), and pursuant to Federal Rule of Civil Procedure 54(b), that there is no just reason for delay of the

entry of judgment in favor of the Defendant. Therefore, and for the reasons set forth in the Court's

Memorandum Opinion and Order dated March 25, 2022 (docket entry no. 258), final judgment is entered in

favor of Defendant on Counts 16 and 17 of the Second Amended Complaint, pursuant to Federal Rule of Civil

Procedure 54(6).

Dated: New York, New York
       April 28, 2022
                                                                     RUBY J. KRAJICK

                                                                       Clerk of Court
                                                               BY:

                                                                       Deputy CI
